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                                                                                                                                         exhibitsticker.com
                                                                                                                        Exhibit Number
             General Motors North America
             Engineering Analysis                                                                                             4

                                                                                            July 20, 2018

Mrs. Mary Quinn Cooper, Esq.
McAfee & Taft
1717 S. Boulder, Suite 900
Tulsa, OK 74119

                                  Expert Report of Kathryn F. Anderson
               Richard Faust, as the Personal Representative of the Estate of Kaitlyn Faust,
                       Ashley Faust, individually, and Justin Frederick, individually
                  v. General Motors, LLC, Autoliv ASP, Inc., and Delphi Automotive, LLC

Dear Mrs. Cooper:


INTRODUCTION
This report contains my assessment of the design, development, and performance of the restraints
systems in the subject vehicle, a 2012 Chevrolet Malibu sedan (VIN 1G1ZD5EU0CF383419), as well as
the restraint system performance during the subject crash that occurred on March 17, 2014. This report
also addresses the history and evolution of air bags, and sensing system technology. Ms. Ashley Faust
was driving the subject vehicle at the time of the crash, and her daughter, Kaitlyn Faust was riding in the
right front passenger seat.


QUALIFICATIONS
I have a Bachelor of Science degree in Engineering from Purdue University.                                    The focus of my
undergraduate studies was in biomedical engineering through the Interdisciplinary Engineering school at
Purdue University. I also have a Master of Science degree in Biomedical Engineering (Biomechanics) from
the University of Michigan.


I have been employed by General Motors since 1991, and am currently a Senior Technical Consultant and
GM Technical Fellow – Occupant Protection and Biomechanics in the Engineering Analysis group within
our Global Vehicle Safety organization. In the past, I have been responsible for the development of front
and rear seat occupant protection systems and have conducted crash and sled tests to assess the
performance of these systems. I have also been responsible for the design release of driver air bags,
passenger air bags, and steering wheels. I have knowledge and experience in the development, testing,
and design of the components that comprise a frontal impact restraint system. I am also familiar with the
design, development, and testing of the General Motors GMX386 product lines and will testify about this if
asked.



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I have also researched motorsports safety technology, various applications of specific occupant protection
features, and the use of anthropomorphic test device measurement equipment. I participate in what was
formerly known as the Crash Injury Research and Engineering Network (CIREN) project through the
University of Michigan Program for Injury Research and Education and have been an engineering fellow
with the University of Michigan Program for Injury Research and Education (currently known as the
International Center for Automotive Medicine (ICAM) at the University of Michigan Medical Center). In
addition, I have participated in the USCAR Occupant Safety Research Partnership which included joint
research activities with Ford Motor Company and DaimlerChrysler Corporation.


I have more than 27 years of experience in the design and development of automotive crash protection
systems and occupant injury evaluation. My CV provides a more detailed description of my various current
and past job responsibilities, and my publications.


INFORMATION CONSIDERED
I have considered the information contained in the following documents in formulating my opinions and
providing my assessment in this case:
        Plaintiffs’ Petition and First Amended Complaint;

        Defendant General Motors LLC’s Rule 26 Initial Disclosures;

        General Motors LLC’s Responses to Plaintiffs’ First Interrogatories;

        General Motors LLC’s Responses to Plaintiffs’ First Request for Production;

        General Motors LLC’s Responses to Plaintiffs’ Second Request for Production;

        Defendant Autoliv ASP, Inc.’s Initial Disclosures;

        Rule 26 Initial Disclosures on Behalf of Plaintiffs;

        Plaintiffs’ Responses to the First Set of Interrogatories and Requests for Production of Documents
        from Defendant, General Motors LLC;

        Plaintiffs’ Answers to Defendant Autoliv ASP, Inc.’s First Set of Interrogatories;

        Plaintiffs’ Responses to Defendant Autoliv ASP, Inc.’s First Set of Requests for Production;

        Plaintiffs’ Expert Disclosures;

        Report of William P. Munsell, dated June 20, 2018;


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       Report of Neil Hannemann, dated June 20, 2018;

       Report of Mariusz Ziejewski, dated June 20, 2018;

       Official Oklahoma Traffic Collision Report and Supplemental Reports;

       Oklahoma City Police Department Crime Report;

       Oklahoma City Police Department Photographs, taken at the scene on March 17, 2014;

       Oklahoma City Fire Department Incident Detail Report;

       Oklahoma City Fire Department, Station S27 report;

       Oklahoma City Fire Department, EMS Incident Report for Unit E27 (redacted);

       Oklahoma City Fire Department Photographs, taken at the scene on March 17, 2014;

       EMSA Emergency Medical Response Report for Kaitlyn Faust on March 17, 2014;

       My inspection of the subject vehicle, November 16, 2017;

       Vehicle inspection photographs taken by Hamed Sadrnia, December 19, 2017;

       Vehicle inspection photographs taken by Paul Van Rooyen, January 5, 2017;

       Vehicle inspection photographs taken by Elizabeth Raphael, November 3, 2017;

       Vehicle inspection photographs taken by Jon Bready, November 1, 2017;

       Site Inspection photographs taken by Jon Bready, November 1, 2017;

       Photographs of the seat belt taken by Jim Jennings, December 15, 2016;

       Accident Reconstruction of Jon Bready;

       Surrogate study conducted at Delta V Biomechanics, June 22, 2018;

       Materials produced by General Motors in discovery;

       CDR Report for the data obtained from the subject vehicle’s SDM Module;

       GM VIS Global Warranty Management Information for the subject vehicle;

       Air bag sensing system documents;

       Frontal Sensing Performance Review and Passenger Sensing System Performance final reports
       and peer reviews;
       Performance Assessment Committee Reports;


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       Occupant Performance Evaluation Consideration Book;

       General Motors barrier crash, sled, and lab test documentation, photos, and videos;

       General Motors and IEE occupant classification passenger sensing system test procedures,
       specifications, and documentation;

       NHTSA and IIHS publicly available crash test information;

       GM Uniform Test Specifications (GMUTS);

       FMVSS 208 Standard;

       FMVSS 208 Compliance Documents;

       Engineering Drawings, design information, and specifications;

       Product Assembly Documents (PADs);

       2012 Chevrolet Malibu Owner’s Manual;

       2012 Chevrolet Malibu Service Manual Sections;

       Deposition of Ashley Faust, taken January 5, 2018;

       Deposition of Richard Faust, taken January 5, 2018;

       Deposition of Jill G. Faust, taken May 14, 2018;

       Deposition of Justin Frederick, taken January 5, 2018;

       Deposition of William Dale Scruggs, taken February 15, 2018;

       Deposition of Dennis Page, taken March 28, 2018;

       Deposition of Joe M. Smith, taken March 28, 2018;

       Deposition of Samuel Lewis, taken March 28, 2018;

       Deposition of Scotty D. Spence, taken March 28, 2018;

       Deposition of Trevor R. Kelley, taken May 7, 2018;

       Deposition of Eric L. Stark, taken May 7, 2018;

       Deposition of Tori M. Spencer, taken May 14, 2018;

       Deposition of David Prentkowski, taken May 3, 2018;



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        Deposition of Hamed Sadrnia, taken December 12, 2017;

        Deposition of Elizabeth Kiihr, taken May 4, 2018;

        State of Oklahoma Certificate of Death for Kaitlyn Marie Faust;

        Office of the Chief Medical Examiner report for Kaitlyn Faust;

        Oklahoma University Medical Center medical records for Ashley Faust;

        Oklahoma University Medical Center medical records for Kaitlyn Faust.



THE INCIDENT
On March 17, 2014, at approximately 4:04 pm, 31-year-old Ashley Faust was driving a 2012 Chevrolet
Malibu and was traveling Northeast on Jones Spencer Road, near NE 71st Street, in Oklahoma City,
Oklahoma (reference Figure 1). The posted speed limit in this area, on Jones Spencer Road, is 50 mph.
11-year-old Kaitlyn Faust was riding in the right front passenger seat.




                           Figure 1 – Official Oklahoma Traffic Collision Report Diagram Supplemental




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The police narrative of the subject incident as reported in the Official Oklahoma Traffic Collision Report
indicated, “Unit-1 was traveling in a north east direction on Jones Spencer Road. Unit-1 driver crossed the
centerline and was driving in the south west lane. Unit-1 continued in the north east direction right of the
center line. Unit-1 departed the roadway and collided with a tree. At this time it is not clear why the driver
departed the roadway.” Reference Figure 2.




                         Figure 2 – Police Photo Taken of the Front of Subject Vehicle at the Crash Scene


Officer William Dale Scruggs additionally reported in his narrative of the subject crash and about the
occupants of the subject vehicle, “Unit-1 driven by Ashley Faust with Kaitlyn Faust as the passenger were
traveling north east bound on Jones Spencer Rd. For some unknown reason the driver crosses the center
line then drives off the roadway. There is no indication that the driver swerved to avoid anything in the
roadway. The tracking of the car was straight. It appears that the driver tried to take some evasive action
by steering right and applying the brakes with in the last 40 ft. before the collision. This caused the impact
to be more to the driver’s side of the vehicle.                It was noted that both occupants were wearing their
seatbelts. The passenger side air bag did not deploy. It is not clear at this time why.” Reference Figures 3
and 4.


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 Figure 3 – Police Photo Taken of Passenger (Right) Side            Figure 4 – Police Photo Taken of Driver’s (Left) Side
            of Subject Vehicle at the Crash Scene                              of Subject Vehicle at the Crash Scene




Upon his arrival on scene, Officer Scruggs was advised that both the driver and right front passenger had
been transported in critical and unstable condition to Oklahoma University (OU) Medical Center.


REPORTED INJURIES
Kaitlyn Faust, the right front passenger, was fatally injured as a result of the above-mentioned crash event.
Kaitlyn was 11 years old, and reportedly 148 cm (4’10”) tall and weighed 47.1 kg (103.62 lbs.) on
3/10/2014, seven days prior to the crash event (per OUCP Medical Records of an office visit at the OUCP
Sooner Pediatric Clinic with Dr. Geoffrey Lowe). Based on a review of the documents listed above, it was
reported that Kaitlyn Faust was found belted in the right front passenger seat, and was unresponsive at the
scene. She had reportedly vomited prior to EMS arrival, and vomited again after she was removed from
the vehicle. EMS personnel noted that she had swelling to the left side of her face, blood coming from her
right ear, and had an increased rate of shallow breathing (tachypnea). It was also reported that she had
soft tissue swelling and bruising of her right lower abdomen, and abrasions on her right hip. Upon EMS
arrival at the scene, Kaitlyn had a Glasgow Coma Score of 6 with dilated pupils (non-reactive right pupil,
and sluggish response from left pupil). She was transported by ground ambulance to OU Medical Center,
and exhibited signs of decorticate posturing while enroute. Kaitlyn Faust was pronounced dead three days
after the subject crash, on March 20, 2014, and her immediate cause of death, as reported by Medical
Examiner, Dr. Chai Choi, was head and neck injuries due to blunt force trauma.




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According to OU Medical Center records, Kaitlyn Faust sustained the following injuries as a result of the
March 17, 2014 subject crash:


1) Diffuse subarachnoid hemorrhage
2) Left-sided subdural hematoma
3) Diffuse cerebral edema with midline shift
4) Punctate left cerebral contusion
5) Right temporal bone fractures involving anterior carotid canal with associated pneumocephalus
6) Right internal carotid artery dissection
7) Left temporal bone (squamous portion) and left zygomatic process fractures
8) Left maxillary sinus posterior wall and base of pterygoid plate fractures
9) Left inferior orbital rim fracture
10) Bilateral mandible fractures without TMJ dislocation
11) Soft tissue swelling and bruising to left side of face and laceration to left side of head
12) Tongue laceration and small facial lacerations
13) Hemotympanum in both ears and nasal hemorrhage
14) Left pulmonary contusions
15) Trace bilateral pneumothoraces
16) Upper extremity, chest, and abdominal abrasions and contusions
17) Right hip soft tissue swelling and abrasion, and hemoperitoneum within right pelvis
18) Lower extremity abrasions and contusions
19) Possible cervical spine ligamentous injury
20) Possible grade 1 liver injury

The driver, 31-year-old Ashley Faust, was reportedly trapped in the subject vehicle at the scene and
required a prolonged extrication. EMS personnel noted she was belted and the driver’s frontal air bag had
deployed. She was noted to have external signs of severe facial trauma, and right-sided leg injuries. She
was alert, combative, and confused, and reportedly awake and talking at the scene. Ashley was initially
assessed at the scene by EMS with a Glasgow Coma Score of 10. She was also transported to OU
Medical Center.


Both Ashley and Kaitlyn Faust’s injuries may be addressed in this report in order to more completely
discuss the occupant kinematics during the March 17, 2014 accident event and the severity of the crash.



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BASIS OF OPINIONS
I have reviewed the information listed above relative to the subject 2012 Chevrolet Malibu that was
involved in a crash on March 17, 2014, in Oklahoma City, Oklahoma. My opinions are based on the
information contained in the documents previously mentioned, and on my education, background and
experience in automotive occupant protection research and development.


ANALYSIS AND OPINIONS
I have reviewed all available scene and subject vehicle photographs that were provided to me. I performed
a visual inspection of the subject vehicle on November 16, 2017, in Norman, Oklahoma. The subject
vehicle had extensive frontal damage, consistent with the described impact with the tree (reference Figure
5). The frontal damage was narrow and localized near the centerline of the vehicle, resulting in significant
deformation of the front bumper system, front structure, front suspension, and engine compartment.




                                        Figure 5 – Anderson Inspection Photo, fau_004kfa




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The hood was deformed into the front windshield, which was broken. The right front door glass was
cracked, and the right rear window quarter glass was broken out. The right rear door glass, rear back
glass, left rear quarter glass, and left rear door glass were not broken and were intact. Extrication efforts at
the scene additionally resulted in deformation of the right front passenger’s door, and removal of the
driver’s door which was no longer attached to the subject vehicle at the time of my inspection (reference
Figures 6 and 7).




 Figure 6 – Anderson Inspection Photo, fau_051kfa                   Figure 7 – Anderson Inspection Photo, fau_019kfa


The frontal damage to the subject vehicle was extensive and indicative of a narrow, localized, offset tree
impact (reference Figures 8 and 9).




        Figure 8 – Bready Inspection Photo, DSC00348                     Figure 9 – Bready Inspection Photo, DSC00343



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The frontal air bag system in the 2012 Chevrolet Malibu primarily consists of the driver and passenger
frontal air bag modules, two electronic front sensors (EFSs), and the electronic sensing and diagnostic
module (SDM). The EFSs are located on the front of the vehicle on the upper radiator tie bar. The SDM
module is mounted on the center tunnel, under the center console between the driver’s and right front
passenger’s seats. The SDM is an onboard electronic module which functions to continuously monitor the
air bag system in the car while the ignition is on, to deploy the air bags, and to record certain crash and air
bag system data in deployment and non-deployment level crash events. The SDM also functions as an
energy reserve for air bag deployment should a vehicle lose power during an accident.                                   The SDM
diagnoses and detects air bag system malfunctions, and notifies the driver of any malfunction by
illuminating the SIR warning lamp. Information about a malfunction in the air bag system will be stored as
a fault code in the SDM’s memory.


The SDM in the 2012 Chevrolet Malibu senses vehicle decelerations in the longitudinal and lateral
directions. In frontal or near frontal impacts, the occupant’s motion will be primarily forward into the seat
belt and frontal air bag.         In order for the frontal air bags to deploy, the vehicle must exceed a pre-
determined deployment threshold. This threshold will be exceeded when the SDM experiences a sufficient
level of longitudinal deceleration to warrant the deployment of the frontal air bags for supplemental
protection. When the SDM detects a deployment level crash, it will deploy the frontal air bags and create a
permanent “deployment event” record. This record is written to non-volatile memory, and therefore the
deployment event is not erased from the SDM’s memory, and the SDM will not overwrite the data or clear
the data.


According to information in the Official Oklahoma Traffic Collision Report, Officer Scruggs and Msgt. Atkins
removed the air bag sensing and diagnostic module (SDM) from the subject vehicle at 4A Wrecker Service,
the day after the crash event. They did a direct download of the SDM module (out of the vehicle), with the
CDR tool in their office on March 18, 2014, to obtain the crash event data. The SDM contained a complete
deployment event record, which corresponded to the subject incident described above. The sensing and
diagnostic module (SDM) was downloaded at ignition cycle 3761, and contained a deployment event file
from ignition cycle 3761. This data file indicates that the SDM sensed the impact with the tree as an
above-threshold level frontal impact and commanded deployment of the driver and right front passenger
seat belt pretensioners, and the first and second stages of the driver’s frontal air bag in response to the
subject crash. The passenger’s frontal air bag was suppressed and was not commanded to deploy, based


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on a valid input received by the SDM from the right front passenger’s occupant classification sensing
system. The crash event data indicated that the air bag warning lamp was off prior to the recorded crash
event, indicating the air bag system was functioning properly at the time of the crash. The SDM had also
recorded the driver’s and right front passenger’s seat belt statuses as buckled at the time of the crash
event, which is consistent with the police officers reporting that both Ashley and Kaitlyn Faust were belted
during the crash event.


During my inspection of the interior occupant compartment, I noted that both the driver and right front
passenger seat belt pretensioners, and the driver’s frontal air bag were deployed.                                The right front
passenger frontal air bag was not deployed. The driver’s and right front passenger’s seat belts had been
cut, and there was evidence of occupant loading on both of the seat belt guide loops (reference Figures 10
and 11).




  Figure 10 – Anderson Inspection Photo, fau_251kfa                      Figure 11 – Anderson Inspection Photo, fau_252kfa




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There was significant deformation and intrusion of the steering wheel, steering column, driver’s knee
bolster, floor pan, and instrument panel on the driver’s side of the vehicle (reference Figure 12), with
evidence of significant interaction of the driver with her restraint system components.




        Figure 12 – Anderson Inspection Photo of the Left Side Occupant Compartment of Subject Vehicle, fau_054kfa


On the right side of the passenger compartment, there did not appear to be any significant deformation of
the upper instrument panel in the area in front of the right front passenger (reference Figure 13). The lower
instrument panel, in the area of the lower left corner of the glove box compartment, was abraded with
evidence of occupant knee contact. The lower left corner of the glove box door was deformed forward in
vehicle, and the lower left side of the glove box bin was cracked. There was no apparent deformation of
the left or right passenger side knee bolster brackets (reference Figures 14 and 15).




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         Figure 13 – Police Photo Taken of the Right Side Occupant Compartment of Subject Vehicle at the Crash Scene




Figure 14 – Anderson Inspection Photo, fau_107kfa (Lower            Figure 15 – Anderson Inspection Photo, fau_112kfa (Lower Left
Instrument Panel and Glove Box at Time of Inspection)               Side of Glove Box Compartment)




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The center console between the seats, and the SDM had been removed from the subject vehicle prior to
my inspection. The rearview mirror was detached from the windshield mount and was lying on top of the
instrument panel in front of the driver’s seating position. The instrument panel center stack contains an
upper storage bin, the radio, HVAC control head and outlets, and a lower storage compartment. The trim
plate around these center stack components was dislodged and fractured. The lid on the upper storage
bin was distorted and deformed relative to the instrument panel top pad. The upper left HVAC outlet in the
center stack was missing, and the vanes in the upper right HVAC outlet were fractured. The HVAC control
head housing was broken and the HVAC knobs were deformed forward in vehicle relative to the radio.
Reference Figures 16 and 17.




                                        Figure 16 – Anderson Inspection Photo, fau_075kfa




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                                        Figure 17 – Anderson Inspection Photo, fau_069kfa



Based on the information in the deployment event file contained in the subject vehicle’s Sensing and
Diagnostic Module (SDM), and the damage that I observed to the vehicle, it is my opinion that the accident
of March 17, 2014 was a crash event that induced both longitudinal and lateral inputs to the front structure
of the vehicle and its occupants. Although I will be relying on and deferring to the accident reconstruction
of Mr. Jon Bready, it is my opinion that Ms. Ashley Faust left the roadway and impacted the tree at a very
high rate of speed. The pre-crash data associated with the deployment event file, indicates the subject
vehicle’s speed was 53 mph within 1 second before the frontal air bag sensing algorithm was enabled in
response to the impact with the tree. After impact with the tree, the subject vehicle slowed down very
quickly, and within 110 msec of enabling the sensing algorithm, had already experienced a change in
longitudinal velocity of nearly -50 mph, and a change in lateral velocity of nearly +11 mph. Ultimately, the
vehicle experienced a maximum change in longitudinal velocity of –65.74 mph at 180 msec after the
algorithm enabled (AE), and a maximum change in lateral velocity of +12.88 mph at 130 msec after AE.



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One way to put the severity of the subject crash in perspective is to compare the change in velocity the
subject vehicle experienced to the change in velocities reported for other non-rollover frontal crashes that
occur in the field. Just considering the SDM recorded velocity change along the longitudinal axis of the
subject vehicle that was recorded in the deployment event file by the subject vehicle’s SDM, the maximum
recorded longitudinal change in velocity for the Fausts’ crash was more than 65 mph. Comparing this to
the total change in vehicle velocities in the numbers of crashes occurring in ten years of weighted field data
from the NASS-CDS database (reference Figure 18), the Fausts’ crash was more severe, from this
perspective, than over 99.9% of non-rollover frontal crashes in the field.




          Figure 18 – Frequency of Cars and Light Trucks in Non-Rollover Frontal Crashes, 2006-2015 NASS-CDS Data



The above comparison displays the extreme severity of the subject crash in terms of just the total change
in velocity, by only considering the magnitude of the longitudinal change in velocity experienced by the
subject vehicle. If the lateral change in velocity the vehicle experienced is additionally considered, along



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with the magnitude of these changes in velocity over time, then an even more relevant measure of how
quickly the vehicle slowed down, and the resulting severity and average accelerations experienced by the
occupants becomes apparent.


Figure 19 is a comparison of the average rear rocker longitudinal velocities from frontal crash and sled
tests representative of the GMX386 Chevrolet Malibu that show the relative changes in velocity over time
that are experienced by the vehicle for these different higher speed test modes defined by the National
Highway Traffic Safety Administration (NHTSA), the Insurance Institute for Highway Safety (IIHS), and
General Motors.        The graph displays the longitudinal vehicle or sled velocities from the time the first
restraint systems (front seat belt retractor pretensioners) were deployed in each test, through the end of
each event. The longitudinal change in velocity recorded by the SDM in the Faust vehicle, from the time the
deployment criteria was met, is also shown on the graph for comparison.




        Figure 19 –Change in Longitudinal Vehicle Velocity Over Time after the Time of Pretensioner / Air Bag Deployment




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The average accelerations for each of these tests and the subject vehicle, from the time of deployment to
when the vehicle reached its maximum longitudinal velocity are shown in Table 1 below. The higher the
average acceleration is, the greater the severity of the crash. Because of the high speed at which Ms.
Faust impacted the tree, there was a significant amount of energy that had to be absorbed by the
deformation of the vehicle structure and absorbed by the occupant restraints systems.


                                         40 mph,                                         30 mph,                         59 mph
                                         40% Left    35 mph,                               0 deg          30 mph,       Rigid Tree
                                          Offset,      0 deg             30 mph,         Frontal,        125 msec,       Impact,
                                        Deformable   Frontal,           Rigid Pole     Rigid Barrier    FMVSS 208        Subject
                                          Barrier  Rigid Barrier          Impact        Sled Pulse      Sled Pulse       Vehicle
                                          C15674      C17318             C14109           S20698          S20708          Crash
Change in Velocity from Time of
Deploy to Time of Max Longitudinal
Velocity (mph)                           40.67 mph      40.11 mph       31.28 mph        35.13 mph       29.85 mph      50.15 mph
Time from Deploy to Max
Longitudinal Velocity (msec)             121 msec        88 msec         93 msec          88 msec        103 msec        60 msec
AVERAGE ACCELERATION (g's)                15.3 g's       20.8 g's        15.3 g's         18.2 g's        13.2 g's       38.1 g's
           Table 1 - Average Vehicle Accelerations from Time of Deployment to Time of Maximum Longitudinal Velocity



Mr. Jon Bready calculated the peak resultant change in velocity experienced by the subject vehicle during
the frontal impact with the tree to be 66.86 mph, and estimated the principal direction of force (PDOF)
applied to the subject vehicle was approximately 11 degrees toward the driver’s side. Mr. Bready also
determined that the subject vehicle was at an approximate 18 degree roll angle (toward the driver’s side)
when it hit the 12”-14” diameter tree due to the downward pitch of the ditch. This orientation of the vehicle
when it impacted the tree, would cause the occupants in the subject vehicle to move forward and toward
the left, relative to the vehicle’s interior. Kaitlyn Faust was reportedly 4’10” tall and approximately 103.62
lbs. at the time of the accident, and would have moved forward and to her left during the frontal impact.
These occupant kinematics are consistent with the evidence of occupant loading by Kaitlyn Faust’s knees
on the far lower left side of the right front passenger’s lower instrument panel and glove box compartment,
and the evidence of occupant interaction with the instrument panel center stack components.


It is my understanding that Mr. Bready estimated that the center of the instrument panel, in the area where
the radio and HVAC outlets are housed in the center stack, was displaced rearward approximately ten
inches when measured statically. It is my opinion that the center of the instrument panel moved rearward
greater than ten inches dynamically during the crash event. Due to the high speed, slightly angled, offset
impact with the narrow tree, the center of the instrument panel was displaced rearward, but also to the right


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relative to the interior as a result of the crush path of the narrow tree (reference Figure 9). I had also
observed at my inspection that the center of the instrument panel was displaced rearward and to the right,
moving it closer to the right front passenger’s seat. The severity of the impact with the tree induced
extreme crush of the vehicle and caused the center of the instrument panel to move rearward and to the
right, closer to Kaitlyn Faust, and the PDOF of the subject crash and her resulting occupant kinematics
caused her to move forward, and to the left, increasing her likelihood of injury from contact with the interior.


Looking at weighted 2006-2015 NASS-CDS field data, and injuries sustained by occupants in non-rollover
frontal crashes where the total change in velocity (delta V) exceeded 65 mph, it indicated that over 99% of
crashes of that severity involved an occupant who sustained an AIS 3 (serious) or greater injury, and over
98% of those crashes of such high severity involved an occupant who suffered a fatal injury (reference
Figure 20). Considering Kaitlyn Faust’s fatal injuries, I am of the opinion that the severity of her crash (with
a maximum longitudinal change in velocity of more than 65 mph) is certainly a contributor to her higher
likelihood of sustaining a fatal injury.




Figure 20 –Cumulative Probability of Injury in Cars and Light Trucks in Non-Rollover Frontal Crashes, 2006-2015 NASS-CDS Data




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The driver’s and right front passenger’s seat belt pretensioners and driver’s frontal air bag deployed
appropriately and functioned as designed in the subject crash. The frontal air bag system and right front
passenger occupant classification (OC) passenger sensing system operated appropriately and as designed
by suppressing the deployment of the right front passenger air bag. The SDM received a valid input from
the OC passenger sensing system in the seat, that classified Kaitlyn as an occupant who was too small for
which the passenger air bag should be deployed.


The Federal Motor Vehicle Safety Standard (FMVSS) 208, mandates that vehicle manufacturers provide
specific information on warning labels and in the owner’s manuals about the dangers of deploying air bags.
Over the years, that warning label and owner’s manual wording has included statements such as, “Death
or serious injury can occur,” “Children can be killed or seriously injured by the air bag,” “Children 12 and
under can be killed by the air bag,” “Even with advanced air bags, children can be killed or seriously injured
by the air bag,” “The back seat is the safest place for children,” and “Never put a rear-facing child seat in
the front.” The air bag warning label displayed on the sunvisors for the driver and right front passenger in
the subject vehicle, 2012 Chevrolet Malibu, is shown in Figure 21.




                Figure 21 – 2012 Chevrolet Malibu Sunvisor Warning Label, Sadrnia Inspection Photo, fau_035hs




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The frontal air bags are supplemental restraints to the seat belts, and are designed only to deploy in those
types of crashes where the risk of exposing a child or a potentially out-of-position occupant to an inflation
induced injury is balanced against the benefits of providing supplemental protection against significant and
life-threatening injuries. In order to deploy the air bags, energy has to be added to the crash and therefore
the deploying air bag can inherently cause injury if an occupant is in the path of the air bag when it deploys,
or is too young to tolerate the distributed loads applied to the upper torso by the supplemental air bag when
helping to slow the occupant down during a crash event. The right front passenger’s seat has a wide range
of potential seating locations for all size occupants on the passenger side of the vehicle, and parents may
choose to ignore the warnings about air bags from vehicle manufacturers, the National Highway Traffic
Safety Administration (NHTSA), the American Academy of Pediatrics, and the Safe Kids Worldwide
organization, and place their children in the front seat, in front of an air bag.


General Motors first offered driver and right front passenger frontal air bags in passenger cars as an option
in the 1973 Chevrolet Impala, and the 1974-1976 Buick LeSabre, Buick Electra, Buick Riviera, Oldsmobile
88, Oldsmobile, 98, Oldsmobile Toronado, Cadillac Deville, Cadillac Brougham, Cadillac Fleetwood, and
Cadillac Eldorado. Driver frontal air bags were again introduced in General Motors vehicles beginning with
the 1988 model year, and right front passenger frontal air bag introductions beginning with the 1992 model
year, so frontal air bags have been available in GM vehicles for over 30 years. The dangers of deploying
air bags to children, or to occupants who sat very close to the steering wheel, or to occupants who were
out-of-position and very close to the air bag, or were in the path of the air bag when it deployed became
apparent very quickly after manufacturers first introduced frontal air bags. As stated in the Federal Motor
Vehicle Safety Standard 208 (Occupant Crash Protection), “The purpose of this standard is to reduce the
number of deaths of vehicle occupants, and the severity of injuries, by specifying vehicle crashworthiness
requirements in terms of forces and accelerations measured on anthropomorphic dummies in test crashes,
and by specifying equipment requirements for active and passive restraint systems.” FMVSS 208 was
initially issued in 1968, requiring safety belts. The standard has been updated and reissued several times
over the years, as newer anthropomorphic test devices became available, and as it was being recognized
that vehicle and restraint system technology was advancing and evolving.


Recognizing the injuries that could be caused by the deployment of “full powered” air bags in field-relevant
crashes, vehicle manufacturers petitioned the government in the mid-1990’s to consider a change in the
regulated FMVSS 208 compliance options so that vehicle manufacturers could be allowed to effectively
“depower” the frontal air bags. As a result, the FMVSS 208 “Depowering Rule” came into effect on March


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19, 1997, for all passenger cars and LTV vehicles with a gross vehicle weight rating of 8500 lbs. or less.
General Motors immediately took advantage of this change in the regulation and quickly implemented
depowered frontal air bag systems that complied with the depowering rule of FMVSS 208, beginning with
some 1997 model year vehicles, in the interest of reducing the potential for inflation-induced injuries
associated with air bag deployments. As a follow-up to the FMVSS 208 Depowering Rule, and to continue
the purpose of trying to reduce the number of deaths and the severity of injuries to vehicle occupants, the
“Advanced Air Bag Rule” of FMVSS 208 was first published in the Federal Registrar on May 12, 2000, and
outlined a series of changes to the regulation and a model year phase-in schedule for these requirements
for the vehicle manufacturers. The “Advanced Air Bag Rule” included additional belted and unbelted test
conditions, the addition of the 5th% small adult anthropomorphic test device dummy (ATD), additional and
revised injury criteria for all ATDs, and a set of out-of-position test options for the 5th% Hybrid III small adult
ATD (in the driver’s position), 6-year-old Hybrid III ATD, 3-year-old Hybrid III ATD, and 12-month-old
CRABI ATD in a rearward facing infant seat, that required compliance with either automatic air bag
suppression or low risk air bag deployment technology.


The 2012 Chevrolet Malibu complied with sections 19.2, 21.2, and 23.2 of the November 12, 2008, Federal
Motor Vehicle Safety Standard 208 Final Rule (“Advanced Air Bag Rule”) by means of an automatic
suppression feature for the right front passenger air bag. For compliance to these sections, the Federal
standard requires that the automatic suppression feature result in deactivation of the right front
passenger’s frontal air bag for infants in rear facing and convertible child restraints or car beds, for 3-year-
old child dummies, and 6-year-old child dummies when tested to certain static test conditions. At the same
time, compliance to these sections of the FMVSS 208 standard requires that the right front passenger air
bag be activated when the automatic suppression feature detects the presence of an occupant the size of
the Hybrid III 5th% small adult anthropomorphic test device (ATD) specified in section 49 CFR Part 572,
Subpart O. The 2012 GMX386 Chevrolet Malibu FMVSS 208 compliance documentation, Performance
Assessment Committee (PAC) Reports, Frontal Sensing Performance Review reports, Passenger Sensing
System Final Performance Review reports, and GM’s Occupant Evaluation Consideration Book document
the considerations addressed in balancing the performance of the restraint system and the operation of the
suppression system in the GMX386 Chevrolet Malibu passenger car.


Government agencies and health organizations such as the National Highway Traffic Safety Administration
(NHTSA), Safe Kids Worldwide, and the American Academy of Pediatrics all specifically recommend that
children under the age of 13 years old ride in the back seat, using the appropriate child seat or vehicle


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lap/shoulder belt for their age and size. Kaitlyn Faust had just turned 11 years old at the time of the subject
crash, which occurred four days after her eleventh birthday. Kaitlyn’s mother, Ashley, was driving the
subject vehicle, and Kaitlyn was riding in the right front passenger seat at the time of the crash event. It is
recommended by government agencies and health organizations, that a child of Kaitlyn’s age should be
properly belted in the back seat of a vehicle, because it is safer there.


CONCLUSIONS
It is my opinion, based on a reasonable degree of scientific certainty, that:


      The subject vehicle, 2012 Chevrolet Malibu, experienced an extremely severe frontal impact into a tree
       that enabled the frontal air bag sensing system and warranted deployment of the front seat belt
       pretensioners and driver’s frontal air bag.


      The sensing and diagnostic module (SDM) functioned as designed in the subject crash by suppressing
       deployment of the right front passenger’s frontal air bag due to a valid occupant classification message
       to suppress.

      The severity of the subject crash was a primary contributor to 11-year-old Kaitlyn Faust’s fatal injury.


      The development, design, and performance of the restraint systems in the 2012 Chevrolet Malibu,
       including the frontal air bag system, front seat belt systems, and right front passenger occupant
       classification suppression system, were reasonable and appropriate.


      The right front passenger air bag system in the 2012 Chevrolet Malibu was reasonably safe, and met
       the applicable Federal Motor Vehicle Safety Standards.

      The right front passenger occupant classification suppression system in the 2012 Chevrolet Malibu was
       reasonably safe, and met the applicable Federal Motor Vehicle Safety Standards.


In addition, I may offer historical information about the design and development of General Motors vehicles
in general, and of the 2012 Chevrolet Malibu in particular. This type of information also is described in the
reports to the Performance Assessment Committee and the Occupant Performance Evaluation
Considerations Book.



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My opinions are based on my education, my automotive industry experience as a field performance
assessment engineer and an occupant protection system development/design engineer and researcher for
over 27 years, and my review of the general information outlined above.                             The investigation into the
circumstances surrounding the crash event that occurred March 17, 2014, is ongoing, and my opinions
outlined above are based on the information available to me at this time. I reserve the right to amend my
opinions should additional information become available to me.


I am a salaried General Motors employee and received no additional compensation for my work on this
case. Any publications that I have authored during the last ten years are listed on my CV. If called at trial,
I may use any of the items identified above that I reviewed, documents produced in discovery, medical
records, and/or documents and items produced by other parties as exhibits to help explain my testimony.




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                                         LIST OF EXHIBITS AND REFERENCES
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At trial, I may use any of the items identified above that I reviewed, documents produced in discovery,
medical records, and/or documents and items produced by other parties as exhibits to help explain my
opinions. In addition, I may use the following:


Exemplar Vehicle or Component Parts
Anatomical and/or Injury Diagrams or Illustrations
Accident Reconstruction Graphics or Models
NASS-CDS Data
https://www.safekids.org/tip/seat-belt-safety-big-kids
https://www.nhtsa.gov/equipment/car-seats-and-booster-seats#age-size-rec
https://www.healthychildren.org/English/safety-prevention/on-the-go/Pages/Car-Safety-Seats-Information-
for-Families.aspxAmerican Academy of Pediatrics
General Motors Vehicle Safety & Crashworthiness Laboratory - ATD Reference Manual
General Motors crash, sled, or out-of-position test documentation, photos, and videos identified in
discovery or listed by defendant’s experts
General Motors and IEE passenger air bag suppression and occupant classification test documentation
identified in discovery or listed by defendant’s experts
General Motors FMVSS compliance documentation
NHTSA and IIHS Crash Tests, documentation, photos and videos
FMVSS 208 Standard, 49 CFR, Part 571.208 and Part 572
National Highway Traffic Safety Administration, Federal Registrar, 49 CFR, Part 552 et al., Federal Motor
Vehicle Safety Standards; Occupant Crash Protection; Final Rule.
Heller, M.F., Imler, S.M., Corrigan, C.F., et al. "The Effect of Frontal Collision Delta-V and Restraint Status
on Injury Outcome.” SAE 2010-01-0145.
Mertz, H.J., Irwin, A.L., and Prasad, P., "Biomechanical and Scaling Bases for Frontal and Side Impact
Injury Assessment Reference Values.” Stapp Car Crash Journal, Vol. 47 (October 2003), 03S-58.
Mertz, H.J. and Prasad, P., “Improved Neck Injury Risk Curves for Tension and Extension Moment
Measurements of Crash Dummies.” Stapp Car Crash Journal, Vol. 44 (November 2000), 2000-01-SC05.
Mertz, H.J., Prasad, P. and Irwin, A.L., “Injury Risk Curves for Children and Adults in Frontal and Rear
Collisions.” 41st. STAPP Car Crash Conference, SAE 973318, Nov. 1997.
SAE J885. Revised 2003-12. “Human Tolerance to Impact Conditions as Related to Motor Vehicle
Design.” Society of Automotive Engineers, Warrendale, PA.


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2005 Abbreviated Injury Scale (AIS), Update 2008, published by the Association for the Advancement of
Automotive Medicine
Hybrid III: The First Human-Like Crash Test Dummy, SAE PT-44, edited by S. H. Backaitis and H.J. Mertz
MD’s Atlas of Human Anatomy, Frank H. Netter




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                   LIST OF TRIAL TESTIMONY AND DEPOSITIONS IN PAST FOUR YEARS
                                                     Kathryn F. Anderson


Deposition – June 17, 2015; Ibarra v. General Motors LLC, et al.
Deposition – June 24, 2015; Rigsby v. General Motors LLC, et al.
Deposition – April 19, 2016; Tafoya v. General Motors LLC, et al.
Deposition – October 26, 2016; Greenwood v. General Motors LLC, et al.
Deposition – March 30, 2017; Hillard v. General Motors LLC




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                                                 LIST OF PUBLICATIONS
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    A Comparison of the Hybrid III and BioRID II Dummies in Low-Severity, Rear-Impact Sled Tests,
     authored by the OSRP Rear Impact Dummy Work Group and presented by Agnes Kim, Ford Motor
     Company, at the 2001 Stapp Car Crash Conference, Stapp paper number 01-S30, November 2001.

    Development and Field Performance of Indy Racing Car Head Impact Padding, authored by Dr. John
     W. Melvin, Dr. Henry Bock, Kathryn F. Anderson and Thomas Gideon, and presented by Dr. John W.
     Melvin at the 2001 Stapp Car Crash Conference, Stapp paper number P-375, November 2001 (also
     SAE paper number 2001-22-0019).

    A Biofidelity Evaluation of the BioRID II, Hybrid III, and RID 2 for Use in Rear Impacts, authored by
     the OSRP Rear Impact Dummy Work Group and presented by Agnes Kim, Ford Motor Company, at
     the 2003 Stapp Car Crash Conference, Stapp paper number 03-S43, October 2003.

    A Comparison of the BioRID II, Hybrid III and RID2 in Low-Severity Rear-Impacts, authored by the
     OSRP Rear Impact Dummy Work Group and presented by Agnes Kim, Ford Motor Company, at the
     2005 ESV Conference, ESV paper number 05-0225, June 2005.

    Assessment of 3 and 6-Year-Old Neck Injury Criteria Based on Field Investigation, Modeling, and
     Sled Testing, authored by Dr. Mark Sochor, Daniel Faust, Kathryn F. Anderson, Skip Barnes,
     Stephen Ridella, and Dr. Stewart Wang, and presented by Dr. Mark Sochor from University of
     Michigan Program for Injury Research and Education at the 2006 SAE Congress, SAE paper number
     2006-01-0253, April 2006.

    Crash Data Collection Guide for GM Airbag Electronic Control Units, published in Collision Magazine,
     Volume 5, Issue 2, Fall 2010, authored by Donald Floyd, Kathryn Anderson, Brian Everest, Angelo
     Peroff, Hamed Sadrnia, John Sprague and Lisa Stacey.

    Results from First Field Test of Telemetry Based Injury Severity Prediction, authored by Stewart
     Wang, Carla Kohoyda-Inglis, Joel MacWilliams, University of Michigan International Center for
     Automotive Medicine, and Kathryn Anderson, Jeffrey Joyner, Julie Kleinert, Anthony Melocchi, Lisa
     Stacey, General Motors, and presented by Dr. Stewart Wang from University of Michigan
     International Center for Automotive Medicine, at the 2015 ESV Conference, ESV paper number 15-
     0388-O, June 2015.




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